       Case 4:19-cv-07123-PJH       Document 365   Filed 08/21/24    Page 1 of 3




 1    Greg D. Andres
      Antonio J. Perez-Marques
 2    Craig T. Cagney
 3    Luca Marzorati
        (admitted pro hac vice)
 4    DAVIS POLK & WARDWELL LLP
      450 Lexington Avenue
 5    New York, New York 10017
      Telephone: (212) 450-4000
 6
      Facsimile: (212) 701-5800
 7    Email: greg.andres@davispolk.com
               antonio.perez@davispolk.com
 8             craig.cagney@davispolk.com
               luca.marzorati@davispolk.com
 9
      Micah G. Block (SBN 270712)
10    DAVIS POLK & WARDWELL LLP
      1600 El Camino Real
11
      Menlo Park, California 94025
12    Telephone: (650) 752-2000
      Facsimile: (650) 752-2111
13    Email: micah.block@davispolk.com

14   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
15

16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                       OAKLAND DIVISION
19    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
20                                      )
                                        )
21                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
22           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
23    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
24                                      )          Judge: Hon. Phyllis J. Hamilton
                                        )
25                    Defendants.       )
                                        )
26                                      )          Action Filed: October 29, 2019

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       Case 4:19-cv-07123-PJH            Document 365       Filed 08/21/24      Page 2 of 3




 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Letter Regarding Designation of Experts and Disclosure of Confidential

 5   Information Pursuant to Stipulated Protective Order (the “Letter”), the Declaration of Craig T. Cag-

 6   ney in Support of the Letter (the “Cagney Declaration”), and certain exhibits thereto should be sealed.

 7           Plaintiffs’ Letter and the Cagney Declaration and certain exhibits thereto contain references

 8   to documents that NSO and nonparty Josh Shaner have designated for confidentiality pursuant to the

 9   Stipulated Protective Order (Dkt. No. 132) in the above-captioned action and/or sought leave to file

10   under seal. Accordingly, Plaintiffs now move the Court to consider whether such references in Plain-

11   tiffs’ Letter and the Cagney Declaration and certain exhibits thereto should be sealed. See N.D. Cal.

12   Civil L.R. 79-5(f). Plaintiffs take no position as to whether these materials satisfy the requirements

13   for sealing, and specifically reserve the right to challenge any confidentiality designations as well as

14   the sealability of the materials at issue.

15           This motion and copies of any relevant attachments will be served on counsel for Mr. Shaner

16   by email, since they have not appeared in this action as counsel for Mr. Shaner.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH        Document 365          Filed 08/21/24    Page 3 of 3




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 2    Dated: August 21, 2024                     Respectfully Submitted,

 3                                               DAVIS POLK & WARDWELL LLP
 4
                                                 By: /s/ Micah G. Block
 5
                                                     Micah G. Block (SBN 270712)
 6                                                   DAVIS POLK & WARDWELL LLP
                                                     1600 El Camino Real
 7                                                   Menlo Park, California 94025
                                                     Telephone: (650) 752-2000
 8                                                   Facsimile: (650) 752-2111
 9                                                   Email: micah.block@davispolk.com

10                                                       Greg D. Andres
                                                         Antonio J. Perez-Marques
11                                                       Craig T. Cagney
                                                         Luca Marzorati
12                                                        (admitted pro hac vice)
13                                                       DAVIS POLK & WARDWELL LLP
                                                         450 Lexington Avenue
14                                                       New York, New York 10017
                                                         Telephone: (212) 450-4000
15                                                       Facsimile: (212) 701-5800
                                                         Email: greg.andres@davispolk.com
16
                                                                antonio.perez@davispolk.com
17                                                              craig.cagney@davispolk.com
                                                                luca.marzorati@davispolk.com
18
                                                         Attorneys for Plaintiffs WhatsApp LLC and
19                                                       Meta Platforms, Inc.
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